                UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF WISCONSIN

THERESA GARNER,

                       Plaintiff,

v.                                                       Case No. 24-CV-631-JPS

FBI,
                                                                         ORDER
                       Defendant.


        Plaintiff Theresa Garner (“Plaintiff”) filed this action in the Southern
District of New York in April 2024. ECF No. 1. She does not appear to have

paid the filing fee there. The case was assigned to that District’s Chief Judge

Laura Taylor Swain, who found that Plaintiff should have filed her case in

the Eastern District of Wisconsin. ECF No. 4 (citing 28 U.S.C. §§ 1402(b) and

1406(a)). Accordingly, the case was transferred to this District and assigned

to this branch of the Court. Id. Shortly after Chief Judge Swain issued her

transfer order, Plaintiff filed a motion to withdraw her complaint. ECF No.

5. Citing Federal Rule of Civil Procedure 1, Plaintiff “moves the Court for

an Order to withdraw [her] complaint without prejudice” because she “no

longer wishes to proceed with this lawsuit.” Id. The Court will grant that

request and dismiss this case without prejudice.1


        1Parenthetically, the Court notes that the complaint, which spans more
than 40 single-spaced pages including exhibits, is hardly “a short and plain
statement of the claim” Plaintiff wishes to pursue, as required by Federal Rule of
Civil Procedure 8. “Rule 8(a) requires parties to make their pleadings
straightforward, so that judges and adverse parties need not try to fish a gold coin
from a bucket of mud.” U.S. ex rel. Garst v. Lockheed-Martin Corp., 328 F.3d 374, 378
(7th Cir. 2003). “[L]ength may make a complaint unintelligible, by scattering and
concealing in a morass of irrelevancies the few allegations that matter.” Kadamovas



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        There is no indication that Plaintiff either moved for leave to proceed

in forma pauperis or paid the filing fee in the Southern District of New

York. Chief Judge Swain reserved the matter of “[w]hether Plaintiff should

be permitted to proceed further without prepayment of fees” for this

Court’s determination, and “certifie[d], pursuant to 28 U.S.C. § 1915(a)(3),

that any appeal from [the transfer] order would not be taken in good faith,

and therefore in forma pauperis status is denied for the purpose of an

appeal.” ECF No. 4 at 2 (citing Coppedge v. United States, 369 U.S. 438, 444–

45 (1962)). Although every civil litigant must either pay the filing fee up-

front or move for leave to proceed without doing so, since Plaintiff intends

to dismiss her case—and since she did not previously move for leave to

proceed in forma pauperis—the Court will not require her to do so at this

time. However, Plaintiff is warned that she may not file future lawsuits

without either paying the filing fee or moving for leave to proceed without

doing so.

        Accordingly,

        IT IS ORDERED that Plaintiff Theresa Garner’s motion to withdraw

her complaint, ECF No. 5, be and the same hereby is GRANTED; and

        IT IS FURTHER ORDERED that this action be and the same is

hereby DISMISSED without prejudice.




v. Stevens, 706 F.3d 843, 844 (7th Cir. 2013) (quoting Garst, 328 F.3d at 378). “District
judges are busy, and therefore have a right to dismiss a complaint that is so long
that it imposes an undue burden on the judge, to the prejudice of other litigants
seeking the judge’s attention.” Id.
        The Court would be within its discretion to dismiss the current complaint
on Rule 8 grounds. If Plaintiff intends to file another lawsuit based on the
allegations in her current complaint, she must pare down those allegations so that
her complaint complies with Rule 8.


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      The Clerk of Court is directed to enter judgment accordingly.

      Dated at Milwaukee, Wisconsin, this 22nd day of May, 2024.

                                  BY THE COURT:



                                  ____________________________________
                                  J. P. Stadtmueller
                                  U.S. District Judge




This Order and the judgment to follow are final. A dissatisfied party may
appeal this Court’s decision to the Court of Appeals for the Seventh
Circuit by filing in this Court a notice of appeal within thirty (30) days of
the entry of judgment. See Fed. R. App. P. 3, 4. This Court may extend
this deadline if a party timely requests an extension and shows good
cause or excusable neglect for not being able to meet the thirty-day
deadline. See Fed. R. App. P. 4(a)(5)(A). Moreover, under certain
circumstances, a party may ask this Court to alter or amend its judgment
under Federal Rule of Civil Procedure 59(e) or ask for relief from
judgment under Federal Rule of Civil Procedure 60(b). Any motion under
Federal Rule of Civil Procedure 59(e) must be filed within twenty-eight
(28) days of the entry of judgment. The Court cannot extend this deadline.
See Fed. R. Civ. P. 6(b)(2). Any motion under Federal Rule of Civil
Procedure 60(b) must be filed within a reasonable time, generally no more
than one year after the entry of the judgment. The Court cannot extend
this deadline. See id. A party is expected to closely review all applicable
rules and determine what, if any, further action is appropriate in a case.




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